Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 1 of 61 Page ID
                                 #:1401




                                        Exhibit 8
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 2 of 61 Page ID
                                 #:1402
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 3 of 61 Page ID
                                 #:1403
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 4 of 61 Page ID
                                 #:1404
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 5 of 61 Page ID
                                 #:1405




                                        Exhibit 9
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 6 of 61 Page ID
                                 #:1406
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 7 of 61 Page ID
                                 #:1407




                                   Exhibit 10
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 8 of 61 Page ID
                                 #:1408



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     9                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

    l0                           COUNTY OF LOS ANGELES _ CENTRAL DISTRICT

    il
    t2   JASON FRANK LAW PLC, a professional                    Case No. 8C706555
         law corporation,                                       The Hon.,Dennis J. Landin, Dept. 5l
    l3
                           Plaintiff,                           ,-jf *.---t +, JUDGMENr
    t4
                     vs.                                        Trial Date: None Set
    l5
         MICHAEL J. AVENATTI, an individual
    t6
                           Defendant.
    t7

    l8

    l9
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                                               {h!!rr{Lludgment
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 9 of 61 Page ID
                                 #:1409



     I               The Motion for Summary Judgment / Adjudication filed by Plaintiff Jason Frank Law, PLC

    2    ("JFL") against Defendant MichaelAvenatti("Avenatti") having been granted on October22,2018,

     J   it is hereby ORDERED and ADJUDGED             as   follows:

    4                L      JUDGMENT is hereby entered in favor of JFL and againstAvenatti in the amount

     5   ,f $ {m           5p5I.1E7.75 consisting of a principal amount of $4,850,000 plus
     6   prejudgment interest of| JO't 2 87-7f ($ 165,753.42 as of October 22,201 8 plus 51j28.77

     7   for each day thereafter untiljudgment is entered).

     8               2.     JFL shall have and recover from Avenatti costs in the amount of $

     9   and attorneys ' fees in the amount of $                             the amounts to be determined        as

    l0 provided in California Rules of Court, rules 3.1700 and 3.17              inserted herein by the Clerk.

    ll
    t2

    l3   DArED:               Nol,   20   2010

    t4                                                  Judge of the Superior Court

    t5   Respectfully submitted,

    l6 Eric M.   George, SBN 166403
         egeorge@bgrfirm.com
    t7   BROWNE GEORGE ROSS LLP
         2l2I Avenue of the Stars, Suite 2800
    l8   Los Angeles, Californi a 90067
         Attorneys for Jason Frank Law, PLC
    l9
   20

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                                                     [Proposed] Judgment
Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 10 of 61 Page ID
                                  #:1410




                                    Exhibit 11
                               Michael
Case 8:18-cv-01644-VAP-KES Document  51-3 Avenatti
                                           Filed 02/12/19 Page 11 of 61 Page ID
                                 July  25, 2018
                                   #:1411

· · · · · · · · · · UNITED STATES BANKRUPTCY COURT

· · · · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

·

· · · IN RE:

· · · · · EAGAN AVENATTI, LLP,· · · · · ·CASE NUMBER
· · · · · · · · · · · · · · · · · · · · ·8:17-bk-11961-CB
·
· · · · · · · · · · Debtor,
·

· · · _________________________________

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· · · · · · · · · · · EXAMINATION OF MICHAEL AVENATTI

· · · · · · · · · · · · · · ·July 25, 2018

· · · · · · · · · · · · · · · · 11:00 a.m.

·

· · · · · · · · · · · · · ·411 West Fourth Street

· · · · · · · · · · · · Courtroom 5D Conference Room

· · · · · · · · · · · · · ·Santa Ana, California

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· · · REPORTED BY:

· · · Lynette Milakovich

· · · CSR No. 5098


                U.S. Legal Support | www.uslegalsupport.com                       ·
                               Michael
Case 8:18-cv-01644-VAP-KES Document  51-3 Avenatti
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                                   #:1412

·1· · · · · · Q· ·Is there anybody at EA who is more

·2· · knowledgeable than you about EA's current financial

·3· · condition?

·4· · · · · · A· ·No.

·5· · · · · · Q· ·What payments have been made towards the

·6· · judgment that was entered on May 22nd of 2018?

·7· · · · · · A· ·Are you talking about Mr. Frank's judgment?

·8· · · · · · Q· ·Yes.

·9· · · · · · A· ·None.

10· · · · · · Q· ·What are plans for paying this judgment?

11· · · · · · MR. CHA:· That's a little overbroad.· Are you

12· · talking about immediately, or are you talking about in the

13· · next ten days?· Are you talking about in the next six

14· · months?· What do you mean by "what plans"?

15· · · · · · Q· ·(BY MR. SELTH:)· Do you have any plans to

16· · repay this judgment?

17· · · · · · A· ·We are going to attempt to repay the judgment

18· · from revenues from the firm or at least a portion of it.

19· · · · · · Q· ·Do you plan to pay as much of the judgment as

20· · you can from revenues of the firm?

21· · · · · · A· ·We haven't made a determination as to what we

22· · believe should be paid relating to the judgment.

23· · · · · · Q· ·Do you believe you are entitled to pay less

24· · than the full amount of the judgment?

25· · · · · · A· ·Yeah.· I believe the 10,000,000-million-dollar


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                               Michael
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                                   #:1413

·1· · judgment is bogus.

·2· · · · · · Q· ·Have you filed an appeal of the judgment?

·3· · · · · · A· ·Do you want to argue with me, or do you want

·4· · to ask me questions?

·5· · · · · · Q· ·It's a yes or no question.

·6· · · · · · · · · · Have you filed an appeal?

·7· · · · · · MR. CHA:· When you are referring to "you," you are

·8· · referring to EA, not Mr. Avenatti?

·9· · · · · · MR. SELTH:· Yes.· I know it's easy to make that

10· · mistake.· When I mean him personally, I will say, "You

11· · personally."

12· · · · · · MR. CHA:· Correct.

13· · · · · · MR. SELTH:· If I say, "You," I am not meaning you

14· · personally.

15· · · · · · MR. CHA:· Very good.· Thank you.

16· · · · · · · · Q· ·(BY MR. SELTH:)· Has EA filed tax returns

17· · for 2017?

18· · · · · · A· ·No.

19· · · · · · Q· ·Has EA filed tax returns for 2016?

20· · · · · · A· ·I believe so.

21· · · · · · Q· ·Who would know for certain?

22· · · · · · A· ·I don't understand the question.

23· · · · · · Q· ·You said you believe so?

24· · · · · · A· ·That's my answer.· I believe so.

25· · · · · · Q· ·You don't know to a certainty?


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                               Michael
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·1· · · · · · MR. CHA:· Don't argue with my client.· That's all.

·2· · · · · · MR. SELTH:· When an answer is given that is that

·3· · absurd, I am not arguing.· I am saying that's absurd.

·4· · · · · · MR. CHA:· You can think that.· Okay?· Let's not

·5· · burden the record with your thoughts or your feelings.

·6· · That's not relevant.· Okay.· Let's go.· We are here.· We

·7· · are here for you.

·8· · · · · · Q· ·(BY MR. SELTH:)· Who is handling the payroll

·9· · tax withholdings for EA right now, Mr. Avenatti?

10· · · · · · A· ·I believe our payroll tax company.

11· · · · · · Q· ·Is EA current on its payroll tax since the

12· · bankruptcy case has been dismissed?

13· · · · · · A· ·To the best of my knowledge, yes.

14· · · · · · Q· ·Please name all financial institutions where

15· · EA has had a bank account in the last four years.

16· · · · · · A· ·California Bank & Trust, and I think that that

17· · is it.· Although there was a loan from a Mississippi bank,

18· · and I don't remember if we had an account there or not or

19· · if that would qualify as an account.

20· · · · · · Q· ·How long ago was that?

21· · · · · · A· ·I mean, I think there was discovery on this

22· · in connection with the bankruptcy.· I don't remember.

23· · It was some time ago.· But it may have been during this

24· · four-year -- it may have been from 2014 to the present,

25· · so that's why.


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                               Michael
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·1· · · · · · Q· ·But there is no account there now?

·2· · · · · · A· ·No.

·3· · · · · · Q· ·And no loan there now?

·4· · · · · · A· ·No.

·5· · · · · · Q· ·How many current -- how many open accounts

·6· · does EA currently have at California Bank & Trust?

·7· · · · · · A· ·I think two or three.

·8· · · · · · Q· ·Is there one or more than one client trust

·9· · IOLTA account?

10· · · · · · A· ·I think there's one IOLTA.

11· · · · · · Q· ·At California Bank & Trust?

12· · · · · · A· · Period.
                 ·Period.

13· · · · · · Q· ·And it's at California Bank & Trust?

14· · · · · · A· ·Yes.

15· · · · · · Q· ·In the bankruptcy schedules filed in June

16· · of 2017 there were two accounts listed at California

17· · Bank & Trust.· Are those the same two accounts that you

18· · have now?

19· · · · · · A· ·At some point during the bankruptcy the

20· · accounts were changed.

21· · · · · · Q· ·To debtor in possession accounts?

22· · · · · · A· ·Correct.· I don't believe that those have been

23· · changed since the conclusion of the bankruptcy case.

24· · · · · · Q· ·What is the current balance in the two

25· · accounts at California Bank & Trust?


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                               Michael
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                                   #:1416

·1· · · · · · A· ·I believe that's true, yeah.

·2· · · · · · Q· ·Approximately how much?

·3· · · · · · A· ·Not a lot.· I don't know.· I'd have to look at

·4· · it, but it's not a lot.

·5· · · · · · Q· ·Under a quarter million?

·6· · · · · · A· ·What was the date of the dismissal of the

·7· · bankruptcy?

·8· · · · · · MR. FRANK:· March 15th.

·9· · · · · · Q· ·(BY MR. SELTH:)· Like four months.

10· · · · · · A· ·Yes, less than a quarter million dollars.

11· · · · · · Q· ·Which fees -- which cases have paid fees since

12· · March 15th?

13· · · · · · A· ·You know, I don't recall.· I don't know --

14· · you know, as I sit here, with that being the date, four

15· · months ago, -- well the Med-Line matter which pays on a

16· · monthly basis would have paid fees, so that would be --

17· · let's call it 140,000 dollars.· I think that's the only

18· · matter, but I may be wrong about it, but I think that's

19· · the only matter.

20· · · · · · Q· ·Med-Line pays a monthly fixed fee; is that

21· · correct?

22· · · · · · A· ·Yes, sir.

23· · · · · · Q· ·How much?

24· · · · · · A· ·I think it's 35,000 dollars a month.· It was

25· · the same -- the amount has not changed since the


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                               Michael
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                                 July  25, 2018
                                   #:1417

·1·
 1· · bankruptcy.

·2· · · · · · Q· ·They pay consistently every month?

·3· · · · · · A· ·Well, sometimes they are late.· Sometimes they

·4· · don't pay on time.· But it's generally --

·5· · · · · · Q· ·They don't generally accrue unpaid fees?

·6· · · · · · A· ·No.· They do accrue if they don't pay on time.

·7· · · · · · Q· ·Is it due on a certain date each month?

·8· · · · · · A
              A·· ·It is, but I can't tell you the date.

·9· · · · · · Q· ·So funds that have gone into EA to pay its

10· · operating expenses, you testified that's the majority of

11· · your personal funds; correct?

12· · · · · · A· ·Yes, sir.

13· · · · · · Q· ·What accounts have transferred funds into

14· · EA bank accounts since the bankruptcy was dismissed?

15· · Accounts just in your name?· Are there any others that

16· · have transferred?

17· · · · · · A· ·I think it's just in my name.· When I say,

18· · "My name," I don't recall exactly what account the monies

19· · came into as loans.· I'm sorry.

20· · · · · · Q· ·From?

21· · · · · · A· ·I know where the monies came into.· I don't

22· · know where the monies came from as I sit here now.

23· · I think they were from Avenatti & Associates.

24· · · · · · Q· ·A bank account?

25· · · · · · A· ·A bank account.


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                               Michael
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·1· · STATE OF CALIFORNIA· · · · · ·)
· · · · · · · · · · · · · · · · · · )
·2· · COUNTY OF SAN BERNARDINO· · · )

·3

·4· · · · I, Lynette Milakovich, a Certified Shorthand

·5· · Reporter, do hereby certify:

·6· · · · That prior to being examined, the witness in

·7· · the foregoing proceedings was by me duly sworn to

·8· · testify to the truth, the whole truth, and nothing but

·9· · the truth;

10· · · · That said proceedings were taken before me at

11· · the time and place therein set forth and were taken

12· · down by me in shorthand and thereafter transcribed

13· · into typewriting under my direction and supervision;

14· · · · I further certify that I am neither counsel for,

15· · nor related to, any party to said proceedings, nor

16· · in any way interested in the outcome thereof.

17· · · · In witness whereof, I have hereunto subscribed

18· · my name.

19

20· · Dated:· July 27, 2018

21

22

23· · Lynette Milakovich
· · · CSR No. 5098
24

25


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Case 8:18-cv-01644-VAP-KES Document 51-3 Filed 02/12/19 Page 19 of 61 Page ID
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                                    Exhibit 12
     Case
     Case8:18-cv-01644-VAP-KES
          8:17-bk-11961-CB Doc 498
                               Document
                                     Filed 51-3
                                           07/11/18
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 5                                                                    CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY firman     DEPUTY CLERK
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 7

 8                              UNITED STATES BANKRUPTCY COURT

 9                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10

11 In re                                            Case No. 8:17-bk-11961-CB
12 EAGAN AVENATTI, LLP,                             Chapter 11
13                        Debtor.                   ORDER GRANTING IN PART AND DENYING
                                                    IN PART AMENDED MOTION FOR
14                                                  ASSIGNMENT AND RESTRAINING ORDER
15                                                  Date:   July 11, 2018
                                                    Time:    10:00 a.m.
16                                                  Place: Courtroom 5D
                                                    Address: 411 W. 4th St, Santa Ana, CA 92701
17

18
19
            A hearing was held on July 11, 2018, at 10:00 a.m. before the Honorable Catherine E.
20
      Bauer, United States Bankruptcy Judge for the Central District of California, in Courtroom 5D
21
      located at 411 West Fourth St., Santa Ana, CA, on the Amended Motion for Entry of
22
      Assignment and Restraining Order filed on June 20, 2018 as docket #470 by Jason Frank
23
      Law, PLC (“Motion”). Appearances were made as noted on the record.
24
            Having reviewed the pleadings and heard the discussion on the record and with good
25
      cause shown,
26
            IT IS ORDERED:
27
            1. The Motion is granted in part and denied in part.
28
     Case
     Case8:18-cv-01644-VAP-KES
          8:17-bk-11961-CB Doc 498
                               Document
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1

2           2. The Motion is granted as follows:

3                  Eagan Avenatti, LLP (“Debtor”) is hereby restrained from assigning, encumbering

4              or in any way transferring any proceeds, attorney’s fees, costs, rights to payments

5              and accounts receivable it is or may be entitled to receive from the lawsuits and

6              clients listed on Exhibit A to the Frank Declaration attached to the Motion (the

7              “Cases”), as well as any rent payments from Debtor’s tenants.

8                  Debtor shall file with the Court and serve on Jason Frank Law, PLC, the Internal

9              Revenue Service, the Official Committee of Creditors, and their respective counsel,

10             a notice of any hearing or proceeding regarding attorney’s fees in any of the Cases

11             (regardless of whether Debtor is designated as a possible payee). Notice shall be

12             filed and served at least 14 days prior to the date of the hearing or proceeding.

13                 Debtor shall also file with the Court and serve on Jason Frank Law, PLC, the

14             Internal Revenue Service, the Official Committee of Creditors, and their respective

15             counsel, a notice of receipt of any monies in relation to the Cases, regardless of

16             whether the payment is made to Debtor, Avenatti & Associates, Michael Avenatti, or

17             Michael Eagan, or any entity controlled by Debtor, Avenatti & Associates, Michael

18             Avenatti, or Michael Eagan.

19          3. To the extent the Motion is not granted in Paragraph 2, it is denied without prejudice.

20

21                                                 ###

22

23
          Date: July 11, 2018
24

25

26
27

28
Case
Case 8:17-bk-11961-CB
     8:18-cv-01644-VAP-KES Doc 491-1
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             Exhibit 1-5 to the Declaration#:1422
                                             of Jason M. Frank Page 4 of 52




         EXHIBIT A
                              Case
                              Case 8:17-bk-11961-CB
                                   8:18-cv-01644-VAP-KES Doc 491-1
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                                                                           of Jason M. Frank Page 5 of 52
 

                     Case Name                               Court                       Case Number          Date                 Source 
                                                                                                          Commenced 
    1.  Alvarez v. Campbell/                    LASC – Santa Monica                 BC537145            2/25/2014      John Alvarez 
        City of Los Angeles 
    2.  Bahamas Surgery Center,  v.             USDC – Central California           14‐CV08390 DMG      10/29/2014     Bahamas Surgery Center LLC 
        Kimberly Clark Corporation                                                                                     (On Behalf of Certified Class) 
    3.  Biloxi Freezing v. Mississippi Power    Circuit Court Harrison County       A2401‐16‐77         4/2016         Biloxi Freezing & Processing, 
        Company                                 Mississippi                                                            Inc.; Gulfside Casino 
                                                                                                                       Partnership; John Carlton Dean 
    4.  Burton v. Carrey                        LASC                                BC634315            9/19/2016      Mark Burton 
    5.  Croxton v. Myla                         OCSC                                30‐2017‐00907481    3/8/2017       Tom Croxton 
    6.  Engel v. Marina Del Rey Hospital        LASC                                BC638697            10/27/2016     Paul S. Engel; The Estate of Jim 
                                                                                                                       D. Engel; The Trust of Jim D. 
                                                                                                                       Engel 
    7.  Greco v. NFL                            USDC – Northern Texas               3:13‐cv‐1005‐M      3/7/2013       Joseph Greco  
    8.  Hansen v. Goodman                       LASC                                BC637521            10/18/2016     Stephen Hansen 
    9.  Heritage v. DFG Group, LLC              Florida Fourth District Court of    4D16‐2972           8/31/2016      Heritage Manor of Memorial 
                                                Appeal                                                                 Park, Inc., Memorial Park of 
                                                                                                                       Boca Raton, Inc., Sandra 
                                                                                                                       Strong, as the Personal 
                                                                                                                       Representative of the Estate of 
                                                                                                                       Kathleen I. Michael, Elishka E. 
                                                                                                                       Michael Tarnawa Revocable 
                                                                                                                       Trust Under Agreement Dated 
                                                                                                                       August 9, 2002, Laila Taylor, 
                                                                                                                       Trustee and Laila Taylor, as 
                                                                                                                       Personal Representative of the 
                                                                                                                       Estate of Elishka E. Michael 
                                                                                                                       Tarnawa 
    10.  Herrick v. National Football League  USDC – Northern Ohio                  5:17‐cv‐472         3/7/2017       Greg Herrick and Carmelo 
                                                                                                                       Treviso (On Behalf of Putative 
                                                                                                                       Class) 
    11.  Kirschner v. Service Corporation       LASC                                BC491632            9/7/2012       Stephanie Kirschner; Brad J. 
                                                                                                                       Kane 
    12.  Koss v. Park Bank                      Wisconsin Court of Appeals          2016AP636           3/22/2016      Koss Corporation; Michael J. 
                                                                                                                       Koss 
                          Case
                          Case 8:17-bk-11961-CB
                               8:18-cv-01644-VAP-KES Doc 491-1
                                                           Document
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                                       Exhibit 1-5 to the Declaration#:1424
                                                                       of Jason M. Frank Page 6 of 52
13.  Loftin v. QA Investments                 Superior Court of Wake County    03‐CVS‐16882           12/15/2003    Peter T. Loftin 
                                              North Carolina 
14.    Medline v. Kimberly Clark              USDC – Northern Georgia          1:17‐cv‐02032          6/5/2017      Medline Industries, Inc. 
15.    Meridian v. Kooshian                   USCA Ninth Circuit               15‐35465               6/12/2015     Mark Calvert 
16.    Naeyaert v. Kimberly Clark             USDC Central California          5:17‐cv‐00950          5/15/2017     Christopher P. Naeyaert 
17.    Parrish v. Latham Watkins              Supreme Court of California      S228277                8/5/2015      William Parrish; E. Timothy 
                                                                                                                    Fitzgibbons; 
18.  Racine v. Selekt Media                   LASC                             BC593922               9/9/2015      Amelia Racine 
19.  Saud v. Saxton                           LASC                             BC476972               1/17/2012     Steven J. Saxton; Hollywood 
                                                                                                                    Studios International 
20.  Shahinian v. Kimberly Clark (Qui         USDC – Central California        2:14‐cv‐08313 JAK      10/27/2014    Hrayr Shahinian (On Behalf of 
     Tam)                                                                                                           the United States) 
     [USA v. Kimberly‐Clark 
     Corporation] 
21.  Silva v. Minsky (Children’s Dental       LASC                             BS167372               1/12/2017     Marisabel Silva 
     Group Cases) 
22.  Sweetman v. Carrey                       LASC                             BC636760               10/11/2016    Brigid Sweetman 
23.  Alhadeff v. Superior Court Los           California – Court of Appeals    B281503                3/24/2017     Jennifer Nadjat‐Haiem – Real 
     Angeles County                                                                                                 Party in Interest 
24.  Alhadeff v. Superior Court of Los        California – Court of Appeals    B283048                6/12/2017     Jennifer Nadjat‐Haiem, Real 
     Angeles                                                                                                        Party in Interest 
25.  Alpha GRP, Inc. v. Subaru of             USDC – Central California        2:18‐cv‐02133 MWF      3/14/2018     Alpha GRP, Inc. 
     America, Inc. 
26.  Barela v. Brock USA, LLC                 USDC – Central California        8:15‐cv‐00779          5/19/2015     Greg Barela 
27.  Browndorf v. Salveson                    USDC – Central California        8:16‐cv‐00181          2/3/2016      Matthew C. Browndorf 
28.  Chicago Title of Nevada, Inc. v.         USDC – Nevada                    2:16‐cv‐02293          9/29/2016     X‐Law Group, PC 
     Colombo 
29.  City of Los Angeles v. S.C. (Alvarez)    California Supreme Court         S245632                11/27/2017    Linda Alvarez 
30.  City of Los Angeles v. S.C.L.A.          California – Court of Appeals    B280429                1/30/2017     Linda Alvarez, Real Party in 
                                                                                                                    Interest 
31.  Clifford v. Davidson*                    LASC – Santa Monica              SC129384               6/6/2018      Stephanie Clifford 
32.  Clifford v. Trump*                       USDC – Central California        2:18‐cv‐02217 SJO      3/16/2018     Stephanie Clifford 
33.  DCM‐P1 LLC v. Rushmore Loan              LASC                             BC677324               9/26/2017     DCM‐P1 LLC 
     Management Services, LLC 
34.  Feldblumb v. Minsky                      OCSC                             30‐2018‐00984383‐CU‐   4/5/2018      Anaya Feldblumb, a minor; 
                                                                               MT‐CXC                               Samuel Feldblumb, Guardian; 
                                                                                                                    Hasan Glover, a minor; 
                                                                                                                    Tamicah Covington, Guardian 
35.  Hallier v. Naccarato                     California – Court of Appeal     B286312                11/9/2017     Sarah Naccarato 
                            Case
                            Case 8:17-bk-11961-CB
                                 8:18-cv-01644-VAP-KES Doc 491-1
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                                                                      #:1425
                                                                        of Jason M. Frank   Page  7 of 52
  36.  Ibe v. Jones                         U.S. Court of Appeals – 5          15‐10242                3/27/2015     Bruce Ibe, Dean Hoffman, 
       (Simms v. Jones)                     Circuit                                                                  Robert Fortune, Jason McLear, 
                                                                                                                     Ken Laffin, David Wanta and 
                                                                                                                     Rebecca Burgwin 
  37.  Ibe v. National Football League      USDC – North Texas                 3:11‐CV‐248‐M           2/8/2011      Bruce Ibe, Dean Hoffman, 
                                                                                                                     Robert Fortune, Jason McLear, 
                                                                                                                     Ken Laffin, David Wanta and 
                                                                                                                     Rebecca Burgwin 
  38.  In Re Khalil                         USDC – Central California          2:16‐cv‐05972           8/10/2016     Steven Goldman 
  39.  In the Matter of Search Warrants     USDC – Southern New York           1:18‐mj‐03161 KMW       4/13/2018     Stephanie Clifford 
       Executed on April 9, 2018* 
  40.  Kaplan v. Porsche Financial          USDC – Central California          2:17‐cv‐03405 AB        5/5/2017      David Kaplan 
       Services  
  41.  Martinez v. Pawlik                   LASC                               BC681379                10/27/2017    Adriana Martinez; Christina 
                                                                                                                     Jennifer Mello; Isabella Jeanine 
                                                                                                                     Mello; Victoria Marie Mello 
  42.  Newman v. Malvin                     OCSC                            30‐2017‐00949469‐CU‐ 10/13/2017          Austin J. Newman 
                                                                            PA‐CJC 
  43.  Novak v. Simpson*                    USDC – Middle Florida, Orlando  6:18‐cv‐922‐ORL‐37‐TBS  6/13/2018        Kathryn Novak 
                                            Division 
  44.  Pritzker v. Miller                   LASC                            BC658205                4/18/2017        Ronald Pritzker 
  45.  Ramirez v. City of Pasadena          LASC                            BC644094                12/20/2016       Andres Ramirez, a minor 
  46.  Ramirez v. City of Pasadena          LASC                            BC664114                6/5/2017         Andres Ramirez, a minor; Elba 
                                                                                                                     Hernandez, Guardian 
  47.  Shaver v. Cohen, M.D.                OCSC                               30‐2017‐00920858‐CU‐    5/17/2017     Charles Shaver 
                                                                               MM‐CJC 
   48.  The Estate of Kathryn Mary Mar v.  LASC                                BC698508                3/16/18       The Estate of Kathryn Mary 
        Beverly Hills Medica                                                                                         Mar; Serina Lane‐Chase 
   49.  USA v. Hendrix                        USDC – Central California        2:17‐mj‐02813           11/8/2017     Ryan D. Hendrix 
   50.  USA v. Martinez                       USDC – South California          3:16‐CR‐02116           9/21/2016     Jose Eduardo Martinez 
   51.  Young Blue, LLC v. Herron             LASC                             BC693618                2/8/2018      Young Blue LLC 
*
    Denotes matters listing “Avenatti & Associates, APC” on the caption page and/or signature block 
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                                    Exhibit 13
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                                  #:1427




       1                    UNITED STATES BANKRUPTCY COURT
       2                    CENTRAL DISTRICT OF CALIFORNIA
       3                                 --oOo--
       4 In Re:                        )        Case No. 8:17-bk-11961-CB
                                       )
       5 EAGAN AVENATTI, LLP           )        Chapter 11
                                       )
       6           Debtor.             )        Santa Ana, California
         ______________________________)        Wednesday, July 11, 2018
       7                                        10:00 a.m.
       8                                    AMENDED MOTION FOR ENTRY OF
                                            ASSIGNMENT AND RESTRAINING
       9                                    ORDER
      10                      TRANSCRIPT OF PROCEEDINGS
                        BEFORE THE HONORABLE CATHERINE BAUER
      11                   UNITED STATES BANKRUPTCY JUDGE
      12 APPEARANCES:

      13 For Jason Frank Law, PLC           SARA L. CHENETZ, ESQ.
           and Scott Sims:                  Perkins Coie, LLP
      14                                    1888 Century Park East
                                            Suite 1700
      15                                    Los Angeles, California 90067
                                            (310) 788-9900
      16
           For Eagan Avenatti:              HAMID R. RAFATJOO, ESQ.
      17                                    Raines Feldman, LLP
                                            1800 Avenue of the Stars
      18                                    12th Floor
                                            Los Angeles, California 90067
      19

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      24
         Proceedings recorded by electronic sound recording;
      25 transcript produced by transcription service.




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                                                                                43
       1             THE COURT:     Okay.

       2             MS. CHENETZ:     But the money -- I mean, he has his

       3 money -- however he's operating, he has his money for

       4 ordinary business expenses.        What I'm gravely concerned is

       5 going to happen, the money is going to come in.          We're going

       6 to have no idea the money's going to come in.          At best it's

       7 going to sit in some Eagan Avenatti account, and then it's

       8 suddenly going to be "Oh, I had to open a new office in

       9 Chicago and it cost $1,000,000, and that was my -- I think

      10 that was an ordinary expense."        Well, we can't get it back

      11 from the new Chicago landlord now.        And so that the state

      12 law provides for assignment of receivables just for this

      13 interest so that judgment debtors can't take money and not

      14 pay the judgment creditors.

      15             THE COURT:    Can we fashion something where if

      16 moneys come in from these lawsuits, he needs to put them in

      17 his trust account and notify the Court and Mr. Frank that

      18 this money has come in, he's not to touch it?          I mean, this
      19 is an officer of the Court.        So if he touches it, he's in --

      20 you know, I'll do something about it.
      21             MS. CHENETZ:    Your Honor, I mean, really, there is

      22 this $10,000,000 judgment plus now interest and counsel

      23 fees.    Mr. Frank is not entitled to more than that.          He too

      24 is an officer of the Court.        You know, he has a law firm.

      25 If he ever collected more, it would be turned over to Eagan




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                                                                                50
       1 take this under advisement.       I want to look through

       2 everything one more time, and I'll get you something very --

       3 very quickly, I promise.       But I appreciate all the

       4 arguments.

       5              Ms. Shariff, anything further?

       6              MS. SHARIFF:    No, thank you very much, your Honor.

       7              THE COURT:   Okay.   All right.    So I'm going to

       8 take it under advisement.       I'll get something out ASAP.        All

       9 right.

      10              MS. CHENETZ:    Thank you, your Honor.

      11              THE COURT:   Thank you very much.      Thank you all.

      12              MR. RAFATJOO:    Thank you, your Honor.

      13       (Proceedings concluded.)

      14

      15              I certify that the foregoing is a correct

      16 transcript from the electronic sound recording of the

      17 proceedings in the above-entitled matter.

      18

      19 /s/Jordan Keilty                 9/13/18
         Transcriber                     Date
      20
         FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
      21

      22
         /s/L.L. Francisco
      23 L.L. Francisco, President
         Echo Reporting, Inc.
      24

      25




                                                               Echo Reporting, Inc.
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                                    Exhibit 14
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                                  #:1431




       1                    UNITED STATES BANKRUPTCY COURT
       2                    CENTRAL DISTRICT OF CALIFORNIA
       3                                 --oOo--
       4 In Re:                        )        Case No. 8:17-bk-11961-CB
                                       )
       5 EAGAN AVENATTI, LLP           )        Chapter 11
                                       )
       6           Debtor.             )        Santa Ana, California
         ______________________________)        Monday, August 27, 2018
       7                                        11:00 a.m.
       8                                    CONT UNITED STATES' MOTION TO
                                            ENFORCE ORDER AND FIND DEBTOR
       9                                    IN CONTEMPT OR IN THE
                                            ALTERNATIVE TO VACATE DISMISS
      10                                    ORDER AND REINSTATE THE
                                            CHAPTER 11 CASE
      11
                                            CONT MOTION OF EAGAN AVENATTI
      12                                    LLP FOR A PROTECTIVE ORDER
      13                                    CONT APPLICATION FOR
                                            APPEARANCE AND EXAMINATION OF
      14                                    JUDGMENT DEBTOR RE:
                                            ENFORCEMENT OF JUDGMENT
      15
                                            MOTION OF JASON FRANK LAW, PLC
      16                                    FOR ENTRY OF ORDER (1) FINDING
                                            JUDGMENT DEBTOR IN CONTEMPT
      17                                    FOR VIOLATING THE COURT'S JULY
                                            11, 2018 RESTRAINING ORDER OR,
      18                                    IN THE ALTERNATIVE, REQUEST
                                            FOR ADDITIONAL TERMS TO THE
      19                                    RESTRAINING ORDER, AND (2)
                                            DIRECTING PARTIAL PAYMENT OF
      20                                    MONTHLY FEES PAYABLE TO
                                            JUDGMENT DEBTOR
      21

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         Proceedings recorded by electronic sound recording;
      25 transcript produced by transcription service.




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                                                                                44
       1              MR. RAFATJOO:     Well, it's --

       2              THE COURT:     Well, it would --

       3              MR. RAFATJOO:     Your Honor, for Eagan Avenatti, we

       4 will file the report that will say what payments have been

       5 made.    We can do it -- when was the order entered, the --

       6              MS. CHENETZ:    Restraining order?

       7             MR. RAFATJOO:     -- restraining order?     We will file

       8 one for the month of July post-restraining order.           I will

       9 file one for the month of August, September 15th or earlier,

      10 whenever people want it, so that people know.          Or if I can

      11 skip the filing step and just email it to these two

      12 parties --
      13              THE COURT:    That's great.    That's perfect.

      14              MR. RAFATJOO:    -- that would be even better.

      15              MS. CHENETZ:    That's fine.

      16              THE COURT:    Perfect.   Absolutely.

      17              MR. RAFATJOO:    And then we can deal with it.

      18              THE COURT:    Okay.   Wonderful.

      19              MR. RAFATJOO:    September 24th.

      20             THE COURT:    Yeah, I'm looking at September 24th at

      21 10:00.    It's a Monday.

      22              MS. SHARIFF:    Okay.    Is -- your Honor, if I may

      23 ask, is there going to be some kind of a briefing schedule

      24 or filing or something?

      25              THE COURT:    I'll put it in the notice.




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                                                                                48
       1             I certify that the foregoing is a correct

       2 transcript from the electronic sound recording of the

       3 proceedings in the above-entitled matter.

       4

       5 /s/Jordan Keilty                 9/13/18
         Transcriber                     Date
       6
         FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
       7

       8
         /s/L.L. Francisco
       9 L.L. Francisco, President
         Echo Reporting, Inc.
      10

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                                    Exhibit 15
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                                    Exhibit 17
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                                                  #:1442                   Statement of Accounts
                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: March 30, 2018
                                                                                                                                                Last Statement: February 28, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0052316                                  4090-06-0030-CBT-PG0023-00006


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                         $55,063.24



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     6



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             30,320.33                                               3,608,058.78                         3,529,665.87                            53,650.00                             55,063.24

            ...........................................................................................................................................................................................
            20 DEPOSITS/CREDITS
            Date                      Amount                 Description
            03/01                   12,800.00                WIRE/IN-2018030100003337;ORG GLOBAL BARISTAS US LLC;REF 9351                                  1305101114
            03/02                    9,200.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000008757 2308801110
            03/05                    5,150.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006124 2308704520
            03/05                   11,400.00                WIRE/IN-2018030500003694;ORG GLOBAL BARISTAS US LLC;REF 0452                                  1303801128
            03/05                   29,500.00                WIRE/IN-2018030500005760;ORG GLOBAL BARISTAS US LLC;REF 9352                                  1303801707
            03/06                    2,950.00                WIRE/IN-2018030500006858;ORG STATE BAR OF CALIFORNIA;REF 241                                  1304200070
            03/07                   10,000.00                DEPOSIT 5353020413
            03/07                    9,100.00                WIRE/IN-2018030700005086;ORG GLOBAL BARISTAS US LLC;REF 1152                                  1304301551
            03/09                    5,000.00                DEPOSIT 5353071662
            03/12                    5,900.00                WIRE/IN-2018031200005036;ORG GLOBAL BARISTAS US LLC;REF 9952                                  1304701465
            03/13                      650.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000006196 2308000562
            03/15                3,000,000.00                WIRE/IN-2018031500004201;ORG MICHAEL J AVENATTI ESQ;REF 0000                                 1304201136
            03/20                    2,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000003028 2308502358
            03/20                    8,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000006625 2308502348
            03/20                  200,000.00                WIRE/IN-2018032000001759;ORG MICHAEL J AVENATTI ESQ;REF 0000                                 1304800662
            03/21                    7,500.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000006716 2307502026
            03/21                   44,700.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000008696 2307501832
            03/22                   94,206.00                WIRE/IN-2018032200004243;ORG MICHAEL J AVENATTI ESQ;REF 0000                                 1304500976
            03/30                  150,000.00                ONLINE XFER FROM DDA ***4779 ID: 000006705 2308101196
            03/30                        2.78                INTEREST PAYMENT 0001987680

            ...........................................................................................................................................................................................
            45 CHARGES/DEBITS
            Date                      Amount                 Description
            02/28                        3.32                INTEREST TRANSFER 0100072101
            03/02                    6,500.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000006008 2308802989
            03/05                    3,000.00                WIRE/OUT-2018030500003658;BNF Claudia M. Losana 1303801118
            03/05                    1,800.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000001241 2308700947
            03/06                    3,000.00                WIRE/OUT-2018030600001771;BNF Claudia Losana 1304200610
            03/06                   14,200.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000000008 2308500751
            03/07                      700.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000000936 2308200615
            03/07                   19,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000001972 2308201757
            03/07                    3,700.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000002792 2308202141
            03/09                   15,500.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000004914 2308402309
            03/12                    2,200.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000008757 2308404259
            03/13                    1,900.00                WIRE/OUT-2018031300005616;BNF Geoffrey Johnson 1304501542


A division of ZB, N.A. Member FDIC                                                                                                                                    0052316-0000001-0126977
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                                                                            5   44 of 61 Page ID
                                                 #:1444          March 30, 2018
                                                                                                                               STATE BAR OF CALIFORNIA
                                                                                                                                    4613




           Continued ...
           Date                       Amount                 Description
           03/13                     1,500.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000008540 2308004543
           03/13                     1,000.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000009362 2308000013
           03/14                     3,100.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000003486 2307601731
           03/15                 2,828,423.30                WIRE/OUT-2018031500004293;BNF SulmeyerKupetz Trust Account 1304201146
           03/15                     1,200.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000009978 2307902421
           03/15                   171,576.70                ONLINE XFER TO DDA EAGAN AVENAT ID: 000001535 2307902459
           03/20                     1,900.00                WIRE/OUT-2018032000005898;BNF Geoffrey Johnson 1304801861
           03/20                     8,000.00                WIRE/OUT-2018032000005899;BNF Mareli Miniutti 1304801863
           03/20                   120,000.00                WIRE/OUT-2018032000005897;BNF Glenn and Patricia Huettner 1304801859
           03/20                    80,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000003157 2308501785
           03/21                     7,577.50                WIRE/OUT-2018032100005212;BNF Shaffer Security Group 1304401398
           03/21                    44,700.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000006202 2307501837
           03/22                    19,100.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000008752 2308102091
           03/23                     5,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000007814 2307801941
           03/26                     2,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000003070 2308603957
           03/27                     5,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000003665 2308100611
           03/27                    25,500.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000008429 2308100619
           03/27                     4,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000009908 2308100621
           03/28                    15,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000006500 2307402213
           03/28                       250.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000007331 2307402217
           03/28                     1,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000007790 2307402221
           03/29                     2,300.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000006250 2308300677
           03/29                     2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000007035 2308302065
           03/29                     2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003559 2308303181
           03/29                     1,000.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000006832 2308304857
           03/30                    50,000.00                WIRE/OUT-2018033000004371;BNF NORELL CONSULTING, INC 1304501240
           03/30                     1,885.05                WIRE/OUT-2018033000004428;BNF MARIA SCOTT 1304501256
           03/30                       400.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000003906 2308100945
           03/30                     5,000.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000005089 2308101205
           03/30                    43,750.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000004180 2308103103
           03/30                     2,000.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000000669 2308103819
           03/30                     1,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000002202 2308103933
           03/30                     1,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000004151 2308103985

           ...........................................................................................................................................................................................
           4 CHECKS PROCESSED
           Number..............Date............................Amount       Number..............Date............................Amount      Number..............Date............................Amount
           9999             03/01                       20,000.00          9999*                03/06                         9,000.00      9999*               03/12                        650.00
           9999*            03/02                       24,000.00
           * Not in check sequence
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                               $0.00                                    $0.00
           Total Returned Item Fees                                           $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           02/28                   30,317.01                                          03/12                    8,067.01                                          03/23                   70,145.51
           03/01                   23,117.01                                          03/13                    4,317.01                                          03/26                   68,145.51
           03/02                     1,817.01                                         03/14                    1,217.01                                          03/27                   33,645.51
           03/05                   43,067.01                                          03/15                        17.01                                         03/28                   17,395.51
           03/06                   19,817.01                                          03/20                       117.01                                         03/29                   10,095.51
           03/07                   15,517.01                                          03/21                        39.51                                         03/30                   55,063.24
           03/09                     5,017.01                                         03/22                   75,145.51




A division of ZB, N.A. Member FDIC                                                                                                                                   0052316-0000002-0126978
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                                                  #:1445          March 30, 2018
                                                                                                                            STATE BAR OF CALIFORNIA
                                                                                                                                    4613
                                                                                                                            California Bank & Trust



      ...........................................................................................................................................................................................
      INTEREST
      Interest Earned This Interest Period                                          $2.78                             Number Of Days This Interest Period                                    30
      Interest Paid Year-To-Date 2018                                               $7.02                             Annual Percentage Yield Earned                                    0.17%




A division of ZB, N.A. Member FDIC                                                                                                                                    0052316-0000002-0126978
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                                    Exhibit 18
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                                                  #:1449                   Statement of Accounts
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                                                                                                                                                This Statement: April 30, 2018
                                                                                                                                                Last Statement: March 30, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0043658                                  4121-06-0000-CBT-PG0023-00002


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




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             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                           $380.37



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     2



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             55,063.24                                                483,523.75                           502,136.89                             36,069.73                                380.37

            ...........................................................................................................................................................................................
            8 DEPOSITS/CREDITS
            Date                      Amount                 Description
            04/03                    1,200.00                ONLINE XFER FROM DDA PASSPORT 420 ID: 000006865 2308201534
            04/04                  189,964.00                WIRE/IN-2018040400004121;ORG MICHAEL J AVENATTI ESQ;REF 0000                                 1304801024
            04/09                   32,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000005315 2308805512
            04/11                   49,976.00                WIRE/IN-2018041100002336;ORG MICHAEL J AVENATTI ESQ;REF 0000                                 1304200746
            04/17                  200,000.00                WIRE/IN-2018041700001330;ORG MICHAEL J AVENATTI ESQ;REF 0000                                 1304300426
            04/19                    9,380.00                WIRE/IN-2018041900000723;ORG GLOBAL BARISTAS US LLC;REF 0852                                 1304700378
            04/30                    1,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000003155 2308205092
            04/30                        3.75                INTEREST PAYMENT 0002598058

            ...........................................................................................................................................................................................
            54 CHARGES/DEBITS
            Date                      Amount                 Description
            03/30                        2.78                INTEREST TRANSFER 0100072101
            04/02                    9,000.00                WIRE/OUT-2018040200003572;BNF Silver Star Sound & Comm, Inc. 1304300940
            04/02                    2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000002084 2308302569
            04/02                    5,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000000385 2308306135
            04/02                      700.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000007033 2308306151
            04/02                   10,000.00                ONLINE XFER TO DDA PASSPORT 420 ID: 000005196 2308307947
            04/02                    2,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000004289 2308308781
            04/02                    1,000.00                ONLINE XFER TO DDA AVENATTI & A ID: 000004166 2308308913
            04/03                    6,400.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000001267 2308201509
            04/03                   18,900.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000005287 2308201519
            04/03                    1,200.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000006370 2308201545
            04/04                   23,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000003545 2308302223
            04/04                    1,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000002322 2308302241
            04/04                   20,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000003633 2308303305
            04/05                   60,000.00                WIRE/OUT-2018040500003814;BNF Waypoint PPG, LLC 1304701051
            04/05                   46,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000006369 2308200905
            04/05                   10,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000002366 2308200921
            04/05                    5,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000005142 2308203715
            04/06                    5,300.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000002167 2308500953


A division of ZB, N.A. Member FDIC                                                                                                                                    0043658-0000001-0122127
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                                                                                                                                    4613




           Continued ...
           Date                        Amount                Description
           04/06                     12,500.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000003221 2308500963
           04/06                      7,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000000419 2308505205
           04/09                      1,900.00               WIRE/OUT-2018040900005587;BNF GEOFFREY JOHNSON 1304301600
           04/09                     30,000.00               WIRE/OUT-2018040900005633;BNF MINYARD MORRIS TRUST ACCOUNT 1304301608
           04/09                        200.00               ONLINE XFER TO DDA AVENATTI & A ID: 000001959 2308804849
           04/11                     38,814.00               WIRE/OUT-2018041100002430;BNF COLOMBO TILDE 1304200766
           04/12                      4,000.00               WIRE/OUT-2018041200003603;BNF MARELI MINIUTTI 1304600944
           04/12                        500.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000005183 2308100707
           04/13                      1,885.06               WIRE/OUT-2018041300004405;BNF MARIE SCOTT 1304702642
           04/13                        200.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000005593 2308300987
           04/16                      3,200.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000008105 2308604521
           04/17                      1,000.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000009740 2308100869
           04/17                     12,500.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000004900 2308100867
           04/17                      3,500.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000008371 2308102077
           04/17                     60,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000006376 2308104709
           04/18                     23,100.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000003022 2308200781
           04/18                      3,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000007580 2308204471
           04/19                      5,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000008885 2308200633
           04/19                      2,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000001854 2308202669
           04/19                      2,000.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000007016 2308203469
           04/20                      2,700.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000004253 2308601039
           04/20                      2,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000002703 2308602609
           04/20                      2,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000009356 2308603177
           04/20                      2,000.00               ONLINE XFER TO DDA EAGAN AVENAT ID: 000001732 2308604471
           04/20                      2,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000009690 2308604473
           04/23                      5,000.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000007406 2309200337
           04/23                      8,000.00               MOBILE XFER TO DDA PASSPORT 420 ID: 000003847 2309202865
           04/23                      2,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000009451 2309207025
           04/24                     22,000.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000007091 2308100517
           04/26                      6,000.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000000010 2307600671
           04/27                      1,750.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000002952 2308300977
           04/27                      2,000.00               ONLINE XFER TO DDA AVENATTI & A ID: 000004979 2308303951
           04/27                      1,500.00               ONLINE XFER TO DDA PASSPORT 420 ID: 000003837 2308303963
           04/27                      2,500.00               ONLINE XFER TO DDA GLOBAL BARIS ID: 000002608 2308303985
           04/30                      1,885.05               WIRE/OUT-2018043000007299;BNF MARIE SCOTT 1304601738

           ...........................................................................................................................................................................................
           2 CHECKS PROCESSED
           Number..............Date............................Amount       Number..............Date............................Amount
           9999             04/17                       34,000.00          9999*                04/24                         2,069.73
           * Not in check sequence
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                               $0.00                                    $0.00
           Total Returned Item Fees                                           $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           03/30                   55,060.46                                          04/11                   11,286.46                                          04/20                   54,081.40
           04/02                   25,360.46                                          04/12                    6,786.46                                          04/23                   39,081.40
           04/03                        60.46                                         04/13                    4,701.40                                          04/24                   15,011.67
           04/04                 146,024.46                                           04/16                    1,501.40                                          04/26                     9,011.67
           04/05                   25,024.46                                          04/17                   90,501.40                                          04/27                     1,261.67
           04/06                       224.46                                         04/18                   64,401.40                                          04/30                       380.37
           04/09                       124.46                                         04/19                   64,781.40




A division of ZB, N.A. Member FDIC                                                                                                                                   0043658-0000002-0122128
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                                                                                                                            STATE BAR OF CALIFORNIA
                                                                                                                                    4613
                                                                                                                            California Bank & Trust



      ...........................................................................................................................................................................................
      INTEREST
      Interest Earned This Interest Period                                          $3.75                             Number Of Days This Interest Period                                    31
      Interest Paid Year-To-Date 2018                                             $10.77                              Annual Percentage Yield Earned                                    0.17%




A division of ZB, N.A. Member FDIC                                                                                                                                    0043658-0000002-0122128
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                                    Exhibit 19
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                                                                                                                                                This Statement: May 31, 2018
                                                                                                                                                Last Statement: April 30, 2018

                                                                                                                                                Account             4613



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0043576                                  4152-06-0000-CBT-PG0023-00001


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
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             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  4613                                         $15,444.19



             ATTORNEY CLIENT TRUST 5794184613                                                                                                                                                220     1



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             380.37                                                   703,192.57                           672,128.75                             16,000.00                             15,444.19

            ...........................................................................................................................................................................................
            10 DEPOSITS/CREDITS
            Date                      Amount                 Description
            05/01                   51,992.00                WIRE/IN-2018050100003224;ORG MICHAEL J AVENATTI ESQ;REF 0000 1304000916
            05/01                  204,900.00                WIRE/IN-2018050100008316;ORG PORTFOLIO ESCROW INC;OBI PROCEE 1304002210
            05/03                   38,400.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002459 2308400750
            05/08                    1,900.00                ONLINE XFER FROM DDA GLOBAL BARIS ID: 000002788 2308501508
            05/15                  100,000.00                WIRE/IN-2018051500001837;ORG MICHAEL AVENATTI ESQ;REF 000000 1304200596
            05/21                  100,000.00                WIRE/IN-2018052100003764;ORG MICHAEL AVENATTI ESQ;REF 000000 1304301006
            05/23                   16,000.00                ONLINE XFER FROM DDA EAGAN AVENAT ID: 000002955 2308303456
            05/24                  100,000.00                WIRE/IN-2018052400005782;ORG MICHAEL AVENATTI ESQ;REF 000000 1305001697
            05/31                   90,000.00                WIRE/IN-2018053100003426;ORG MICHAEL AVENATTI ESQ;REF 000000 1304800928
            05/31                        0.57                INTEREST PAYMENT 0000394523

            ...........................................................................................................................................................................................
            17 CHARGES/DEBITS
            Date                      Amount                 Description
            04/30                        3.75                INTEREST TRANSFER 0100072101
            05/01                   15,025.00                WIRE/OUT-2018050100004341;BNF PROTECH SECURITY 1304001162
            05/01                   16,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000005946 2308002713
            05/01                    3,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000008559 2308003825
            05/01                    1,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000009387 2308003971
            05/01                  204,900.00                ONLINE XFER TO DDA AVENATTI & A ID: 000003848 2308005755
            05/03                    6,500.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000005804 2308402313
            05/04                   46,350.00                WIRE/OUT-2018050400002662;BNF Michael Avenatti Trust 1304500800
            05/04                    1,600.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000005057 2308401121
            05/07                      500.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000001115 2308104169
            05/08                    1,900.00                WIRE/OUT-2018050800004980;BNF GEOFFREY JOHNSON 1304801642
            05/15                  100,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000004775 2308101149
            05/21                  100,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000001564 2308605049
            05/24                  100,000.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000003507 2308302537
            05/31                   23,750.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000008975 2308201329
            05/31                    7,000.00                MOBILE XFER TO DDA ***4779 ID: 000005864 2308202127
            05/31                   44,600.00                ONLINE XFER TO DDA EAGAN AVENAT ID: 000009449 2308203487


A division of ZB, N.A. Member FDIC                                                                                                                                    0043576-0000001-0122237
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                                                                                                                              STATE BAR OF CALIFORNIA
                                                                                                                                   4613




           ...........................................................................................................................................................................................
           1 CHECK PROCESSED
           Number..............Date............................Amount
           9999                 05/23                   16,000.00
           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                              Total for This Period                      Total Year-to-Date
           Total Overdraft Fees                                               $0.00                                   $0.00
           Total Returned Item Fees                                           $0.00                                   $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           04/30                        376.62                                        05/07                       793.62                                         05/23                       793.62
           05/01                   17,343.62                                          05/08                       793.62                                         05/24                       793.62
           05/03                   49,243.62                                          05/15                       793.62                                         05/31                   15,444.19
           05/04                     1,293.62                                         05/21                       793.62


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                          $0.57                                Number Of Days This Interest Period                                  31
           Interest Paid Year-To-Date 2018                                             $11.34                                 Annual Percentage Yield Earned                                  0.17%




A division of ZB, N.A. Member FDIC                                                                                                                                   0043576-0000002-0122238
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